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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       PANAMA CITY DIVISION



RESTORE ROBOTICS LLC and
RESTORE ROBOTICS REPAIR LLC,

                           Plaintiffs,
                                           Civil Case No. 5:19-cv-00055-MCR-MJF
      v.

INTUITIVE SURGICAL, INC.,
                         Defendant.



                         NOTICE OF APPEARANCE


      COMES NOW, William G. Harrison, Jr., Harrison Rivard Duncan & Buzzett,

and enters his co-counsel appearance on behalf of Plaintiffs in the above-captioned

action.

      Respectfully submitted on June 10, 2019.

                                s/ William G. Harrison, Jr.
                                William G. Harrison, Jr.
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                                COUNSEL FOR PLAINTIFFS
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                         CERTIFICATE OF SERVICE

      Undersigned counsel hereby certifies that a copy of the foregoing was served

by electronic filing via the Court’s CM/ECF electronic filing system this day, June

10, 2019 upon the following counsel of record:

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                                      Harrison Rivard Duncan & Buzzett


                                      s/ William G. Harrison, Jr.
